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                             UNITED STATES DISTRICT COURT
             FOR THE United States District Court for the Western District of Washington



Isaac Ocak
                                  Plaintiff,
v.                                                       Case No.: 2:13−cv−00679−JCC
                                                         Judge John C Coughenour
Larry Longley, et al.
                                  Defendant.



                ORDER REGARDING DISCOVERY AND DEPOSITIONS


     IT IS ORDERED that:
   (l) DISCOVERY. All discovery matters are to be resolved by agreement if possible. If
a ruling is needed as to any discovery questions, and counsel wish to avoid the time and
expenses of a written motion, they may obtain an expedited ruling through a telephone
conference call to the court at (206) 370−8800.
   (2) DEPOSITIONS. Depositions will be conducted in compliance with the following
rules:
           (a) Examination. If there are multiple parties, each side should ordinarily
        designate one attorney to conduct the main examination of the deponent, and
        any questioning by other counsel on that side should be limited to matters not
        previously covered.
            (b) Objections. The only objections that should be raised at the
        deposition are those involving a privilege against disclosure, or some matter
        that may be remedied if presented at the time (such as the form of the question
        or the responsiveness of the answer), or that the question seeks information
        beyond the scope of discovery. Objections on other grounds are unnecessary
        and should generally be avoided. All objections should be concise and must
        not suggest answers to, or otherwise coach, the deponent. Argumentative
        interruptions will not be permitted.
            (c) Directions Not to Answer. Directions to the deponent not to answer
        are improper, except on the ground of privilege or to enable a party or
        deponent to present a motion to the court or special master for termination of
        the deposition on the ground that it is being conducted in bad faith or in such
        a manner as unreasonably to annoy, embarrass or oppress the party or the
        deponent, or for appropriate limitations upon the scope of the depositions
        (e.g., on the ground that the line of inquiry is not relevant nor reasonably
        calculated to lead to the discovery of admissible evidence). When a privilege
        is claimed, the witness should nevertheless answer questions relevant to the
        existence, extent or waiver of the privilege, such as the date of the
        communication, who made the statement in question, to whom and in whose
        presence the statement was made, other persons to whom the statement was

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       made, other persons to whom the contents of the statement have been
       disclosed, and the general subject matter of the statement.
          (d) Responsiveness. Witnesses will be expected to answer all questions
       directly and without evasion, to the extent of their testimonial knowledge,
       unless directed by counsel not to answer.
          (e) Private Consultation. Private conferences between deponents and
       their attorneys during the actual taking of the deposition are improper, except
       for the purpose of determining whether a privilege should be asserted. Unless
       prohibited by the court for good cause shown, such conferences may,
       however, be held during normal recesses and adjournments.
          (f) Conduct of Examining Counsel. Examining counsel will refrain
       from asking questions he or she knows to be beyond the legitimate scope of
       discovery, and from undue repetition.
          (g) Courtroom Standard. All counsel and parties should conduct
       themselves in depositions with the same courtesy and respect for the rules that
       are required in the courtroom during trial.
   (3) RESPONSIBILITY OF PLAINTIFF'S COUNSEL. This order is issued at the
outset of the case, and a copy is delivered by the clerk to counsel for plaintiff. Plaintiff's
counsel (or plaintiff, if pro se) is directed to deliver a copy of this order to each other party
within ten (l0) days after receiving notice of that party's appearance.

    DATED: April 17, 2013


                                 /s/ John C. Coughenour
                                 John C. Coughenour
                                 United States District Judge




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